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 7                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 8                                             AT TACOMA
 9   LUIS APONTE and JENNIFER SELF,                       No. 3:21-cv-5459
10                                     Plaintiffs,
                                                          COMPLAINT
11
         v.
12
     MASON COUNTY FIRE PROTECTION
13   DISTRICT NO. 16 a/k/a WEST MASON
     FIRE,
14
                                       Defendant.
15

16            COME NOW the Plaintiffs, LUIS APONTE and JENNIFER SELF, by and through their
17
     attorney Andrew P. Green of Green & Wilmot, PLLC, and for causes of action against the
18
     Defendant, state and allege as follows:
19
                                I.      PARTIES, JURISDICTION, AND VENUE
20
              1.1     Plaintiff Luis Aponte (“Aponte”) is a resident of Mason County, Washington.
21
              1.2     Plaintiff Jennifer Self (“Self”) is a resident of Pierce County, Washington.
22
              1.3     Defendant Mason County Fire Protection District No. 16, also known as West
23

24   Mason Fire (the “Fire District”), was and is a public fire protection district organized under the

25   laws of the State of Washington, providing emergency medical services in Mason County,
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 1   Washington.       All acts, omissions, and conduct complained of herein were performed or

 2   committed by the Fire District’s employees and/or agents, acting within the scope of their
 3   employment and authority, for which the Fire District has legal liability.
 4
              1.4     The events giving rise to the causes of action herein occurred in Mason County,
 5
     Washington.
 6
              1.5     The Fire District has failed to appoint an agent to receive any claim for damages
 7
     made under Chapter 4.96 RCW and/or has failed to record with the Mason County auditor the
 8
     identity or address of any agent to receive any claim for damages made under Chapter 4.96
 9
     RCW.
10

11            1.6     This Court has jurisdiction over the Fire District and the subject matter herein,

12   and venue is proper in this Court.

13                                      II.     FACTUAL BACKGROUND

14            2.1     Plaintiffs incorporate herein all previous allegations in this Complaint.

15            2.2     The Fire District employed Aponte as a firefighter/emergency medical technician
16   (“EMT”) from approximately July 2018 to January 17, 2020.
17
              2.3     The Fire District employed Self as a firefighter/EMT from approximately August
18
     2019 to February 12, 2020.
19
              2.4     The Fire District compensated Aponte and Self (collectively “Plaintiffs”) for
20
     their work as firefighters/EMTs by paying them as follows:
21
                      2.4.1 $100.00 per shift for a 24-hour shift;
22
                      2.4.2 $50.00 per shift for a 12-hour shift;
23

24                    2.4.3 $25.00 per shift for a 6-hour shift;

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 1                    2.4.4 $15.00 per hour in 2018 and $20.00 per hour in 2019 and 2020 for

 2   emergency medical services the Fire District provided under a service contract for a local race
 3   track; and
 4
                      2.4.5 Additional sums based upon on a point system determined by the Fire
 5
     District.
 6
              2.5     During their 24-hour, 12-hour, and 6-hour shifts, the Fire District required
 7
     Plaintiffs to be present at the fire station, ready to respond promptly to calls, and prepared
 8
     mentally and physically to respond to any potential type of emergency.
 9
              2.6     In 2020, the U.S. Department of Labor’s Wage and Hour Division (“WHD”)
10

11   investigated the Fire District for potential violations of the Fair Labor Standards Act (“FLSA”),

12   29 U.S.C. §201, et seq., covering the period of May 5, 2018 to May 2, 2020.

13            2.7     After conducting its investigation, WHD concluded the Fire District

14   misclassified the Plaintiffs and other firefighter/EMTs as volunteers, and found the Fire District

15   committed twenty-nine (29) violations under the FLSA, including for failing to pay them $7.25
16   per hour (federal minimum wage) and failing to pay them proper overtime compensation for
17
     overtime hours they worked. A true and correct copy (with FOIA exemption redactions) of
18
     WHD’s Compliance Action Report regarding its investigation of the Fire District’s FLSA
19
     violations is attached hereto as Exhibit A and incorporated herein by reference.
20
              2.8     The Fire District implemented a formal policy and procedure system for the Fire
21
     District’s operations and adopted a Standard Operating Procedures manual (“SOP Manual”).
22
              2.9     The SOP Manual includes policies and procedures regarding workplace safety,
23

24   safety standards for firefighters, anti-harassment, and personnel disciplinary actions.

25
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 1            2.10    The SOP Manual contains policies and procedures that make promises of

 2   specific treatment in specific situations.
 3            2.11    The Plaintiffs justifiably relied upon the policies and procedures contained in the
 4
     SOP Manual and continued their employment.
 5
              2.12    Plaintiffs submitted multiple complaints to the Fire District about workplace and
 6
     firefighter safety issues.
 7
              2.13    Plaintiffs submitted multiple complaints to the Fire District about workplace
 8
     harassment.
 9
              2.14    On January 17, 2020, the Fire District terminated Aponte’s employment under
10

11   false pretenses.

12            2.15    On February 12, 2020, the Fire District terminated Self’s employment under

13   false pretenses.

14            2.16    The Fire District failed to comply with the provisions of its SOP Manual,

15   including those regarding workplace safety, safety standards for firefighters, anti-harassment,
16   and personnel disciplinary actions.
17
              2.17    The Plaintiffs’ complaints about workplace and/or firefighter safety issues were a
18
     substantial factor in the Fire District’s decision to terminate their employment.
19
              III.      FIRST CAUSE OF ACTION: FLSA VIOLATIONS (MINIMUM WAGE)
20
              3.1     Plaintiffs incorporate herein all previous allegations in this Complaint.
21
              3.2     At all relevant times, the Fire District was an employer covered under the FLSA.
22
              3.3     At all relevant times, Plaintiffs were employees covered under the FLSA.
23

24            3.4     The Fire District failed to pay Plaintiffs the applicable minimum wage for all

25   hours worked, in violation of the FLSA.
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 1            3.5      The Fire District’s conduct described above was willful.

 2            3.6      Plaintiffs are entitled to recover their unpaid minimum wages due and an equal
 3   amount as liquidated damages.
 4
              3.7      Plaintiffs are entitled to recover their attorney’s fees incurred herein pursuant to
 5
     29 U.S.C. §216.
 6
                 IV.        SECOND CAUSE OF ACTION: FLSA VIOLATIONS (OVERTIME)
 7
              4.1      Plaintiffs incorporate herein all previous allegations in this Complaint.
 8
              4.2      At all relevant times, the Fire District was an employer covered under the FLSA.
 9
              4.3      At all relevant times, Plaintiffs were employees covered under the FLSA.
10

11            4.4      The Fire District failed to pay Plaintiffs proper overtime compensation for all

12   work weeks in which they worked in excess of forty (40) hours, in violation of the FLSA.

13   Alternatively, the Fire District failed to pay Plaintiffs proper overtime compensation for all

14   work weeks in which they worked in excess of fifty-three (53) hours, in violation of the FLSA.

15            4.5      The Fire District’s conduct described above was willful.
16            4.6      Plaintiffs are entitled to recover their unpaid overtime compensation and an
17
     equal amount as liquidated damages.
18
              4.7      Plaintiffs are entitled to recover their attorney’s fees incurred herein pursuant to
19
     29 U.S.C. §216.
20
                       V.       THIRD CAUSE OF ACTION: BREACH OF POLICIES
21
              5.1      Plaintiffs incorporate herein all previous allegations in this Complaint.
22
              5.2      Policies contained in the SOP Manual constituted a contract or an implied
23

24   contract, and made promises of specific treatment in specific circumstances.

25            5.3      The Fire District breached the provisions of the SOP Manual.
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 1            5.4      As a result of the breach, the Plaintiffs have suffered damages.

 2                   VI.     FOURTH CAUSE OF ACTION: WRONGFUL DISCHARGE
                                     IN VIOLATION OF PUBLIC POLICY
 3
              6.1      Plaintiffs incorporate herein all previous allegations in this Complaint.
 4

 5            6.2      There is a clear mandate of public policy in Washington that employers shall

 6   ensure employee safety in the workplace.

 7            6.3      There is a clear mandate of public policy in Washington that fire departments

 8   shall ensure certain safety standards for firefighters in their employ.
 9            6.4      Plaintiffs reported what they reasonably believed to be unsafe conditions in their
10   workplace and/or violations of laws and policies related to safety standards for firefighters.
11
              6.5      The Plaintiffs’ reports regarding workplace and/or firefighter safety issues were a
12
     substantial factor in the Fire District’s decision to terminate their employment.
13
              6.6      As a result of the Fire District’s wrongful termination of their employment in
14
     violation of public policy, the Plaintiffs have suffered economic damages, including lost wages
15
     and benefits, and non-economic damages for emotional distress, loss of enjoyment of life,
16
     humiliation, personal indignity, anger, and embarrassment.
17

18                                          PRAYER FOR RELIEF

19            WHEREFORE, having set forth their Complaint against Defendant, Plaintiffs pray for

20   the following relief:

21            1.       An award of economic damages in amounts to be proven at trial, including
22   unpaid minimum wages, unpaid overtime compensation, back pay, front pay, and loss of
23   benefits;
24            2.       An award of liquidated damages equal to the amounts of unpaid minimum wages
25   and unpaid overtime compensation;
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 1            3.       An award of non-economic damages in amounts to be proven at trial;

 2            4.       An award of costs and attorney’s fees pursuant to 29 U.S.C. §216 and/or RCW

 3   49.48.030;

 4            5.       An award of prejudgment and post-judgment interest; and

 5            6.       An award of such other and further relief in favor of Plaintiffs as the Court

 6   deems just and equitable.

 7            DATED this 24th day of June, 2021.

 8                                                        GREEN & WILMOT, PLLC

 9

10                                                        By:    s/ Andrew P. Green
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